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                      IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS


  UNITED STATES OF AMERICA, et al.,

                      Plaintiffs,

                     v.                                 Civil Action No. 1:21-cv-11558-LTS
  AMERICAN AIRLINES GROUP INC. and
  JETBLUE AIRWAYS CORPORATION,

                      Defendants.



                                    NOTICE OF APPEAL

       Please take notice that American Airlines Group Inc. hereby appeals to the United States

Court of Appeals for the First Circuit from the Final Judgment and Order Entering Permanent

Injunction entered in this action on July 28, 2023 (Dkt. 375) and all orders underlying and

incorporated in that judgment, including this Court’s May 19, 2023, Findings of Fact and

Conclusions of Law (Dkt. 344).


Dated: September 25, 2023                          Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document, which was filed with the Court through the
CM/ECF system, will be sent electronically to all registered participants as identified on the Notice
of Electronic Filing.

                                                      /s/ Christopher S. Yates
                                                      Christopher S. Yates




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